Case 2:19-cv-00036-JRG-RSP Document 6 Filed 02/26/19 Page 1 of 8 PageID #: 25



                   IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

MIGUEL CARRERA, JR. and                   §
JASMINE NOL, individual and as            §
Next Friend of A.C., a minor,             §
     Plaintiffs,                          §
                                          §
v.                                        §
                                          §        CIVIL ACTION NO. 2:19cv36
TEXAS DEPARTMENT OF CRIMINAL              §
JUSTICE, UNIVERSITY OF TEXAS              §
MEDICAL BRANCH AT GALVESTON,              §
ROBERT STEVENS, Individual                §
Capacity, GUARD 1, Individual             §
Capacity, GUARD 2, Individual             §
Capacity,                                 §
     Defendants.                          §

     DEFENDANT TEXAS DEPARTMENT OF CRIMINAL JUSTICE’S ORIGINAL ANSWER

     Defendant Texas Department of Criminal Justice (TDCJ) submits this Original

Answer to Plaintiffs’ Original Complaint. See ECF No. 1.

                                 ORIGINAL ANSWER

     Pursuant to Federal Rule of Civil Procedure 8(b), and for the express purpose of

requiring Plaintiffs to meet their burden of proof, TDCJ hereby denies each and every

allegation contained in Plaintiffs’ Original Complaint, except those expressly

admitted herein.

1.     TDCJ is without information sufficient to admit or deny the allegations in

       Paragraph 1.

2.     TDCJ admits Plaintiffs bring suit against the warden and two guards in their

       individual capacity, but deny they subjected him to cruel and unusual
Case 2:19-cv-00036-JRG-RSP Document 6 Filed 02/26/19 Page 2 of 8 PageID #: 26



      punishment as prohibited by the Eighth Amendment and Fourteenth

      Amendment of the United States Constitution. TDCJ admits Plaintiffs bring

      suit against TDCJ, UTMB, Warden Stevens, Guard 1 and Guard 2, but deny

      they violated Title II of the Americans with Disabilities act for subjecting him

      to cruel and unusual punishment as prohibited by the Eighth and Fourteenth

      Amendments.

3.    TDCJ admits the Court has jurisdiction pursuant to 28 U.S.C. § 1331. TDCJ

      admits it is an agency of the State of Texas. TDCJ denies that sovereign

      immunity is abrogated. TDCJ admits venue is proper.

4.    TDCJ is without information sufficient to admit or deny the allegations in

      Paragraph 4.

5.    TDCJ is without information sufficient to admit or deny the allegations in

      Paragraph 5.

6.    TDCJ admits it is a department of the State of Texas and that it was properly

      served with summons.

7.    TDCJ is without information sufficient to admit or deny the allegations in

      Paragraph 7.

8.    TDCJ is without information sufficient to admit or deny the allegations in

      Paragraph 8.

9.    TDCJ is without information sufficient to admit or deny the allegations in

      Paragraph 9.




                                          2
Case 2:19-cv-00036-JRG-RSP Document 6 Filed 02/26/19 Page 3 of 8 PageID #: 27



10.   TDCJ is without information sufficient to admit or deny the allegations in

      Paragraph 10.

11.   TDCJ denies the allegations in Paragraph 11.

12.   TDCJ admits Plaintiffs notified in writing their intent to bring a claim for

      compensation. TDCJ denies the allegations contained within that notice. TDCJ

      is without information sufficient to admit or deny the remaining allegations in

      Paragraph 12.

13.   TDCJ is without information sufficient to admit or deny the allegations in

      Paragraph 13.

14.   TDCJ is without information sufficient to admit or deny the allegations in

      Paragraph 14.

15.   TDCJ is without information sufficient to admit or deny the allegations in

      Paragraph 15.

16.   TDCJ is without information sufficient to admit or deny the allegations in

      Paragraph 16.

17.   TDCJ is without information sufficient to admit or deny the allegations in

      Paragraph 17.

18.   TDCJ is without information sufficient to admit or deny the allegations in

      Paragraph 18, or any allegations pertaining to UTMB.

19.   TDCJ admits it has a suicide prevention plan.

20.   TDCJ denies the allegations in Paragraph 20.

21.   TDCJ denies the allegations in Paragraph 21.




                                         3
Case 2:19-cv-00036-JRG-RSP Document 6 Filed 02/26/19 Page 4 of 8 PageID #: 28



22.   TDCJ is unable to answer for Stevens, Guard 1, or Guard 2 in their individual

      capacities.

23.   TDCJ is unable to answer for Stevens, Guard 1, or Guard 2 in their individual

      capacities.

24.   TDCJ is unable to answer for Stevens, Guard 1, or Guard 2 in their individual

      capacities.

25.   TDCJ is unable to answer for Stevens, Guard 1, or Guard 2 in their individual

      capacities.

26.   TDCJ denies the allegations against it in Paragraph 26.

27.   TDCJ denies the allegations against it in Paragraph 27.

28.   TDCJ denies it is not entitled to Sovereign Immunity.

29.   TDCJ is unable to admit or deny allegations against UTMB.

30.   TDCJ denies the allegations contained in Paragraph 30 and its subsections.

31.   TDCJ denies the allegations contained in Paragraph 31 and its subsections.

32.   TDCJ denies the allegations contained in Paragraph 32 and its subsections.

33.   TDCJ denies Plaintiff is entitled to punitive damages.

34.   TDCJ denies Plaintiffs are entitled to damages sought in Paragraph 34 and its

      subsections.




                                         4
Case 2:19-cv-00036-JRG-RSP Document 6 Filed 02/26/19 Page 5 of 8 PageID #: 29



                                 AFFIRMATIVE DEFENSES

 35.   Plaintiffs failed to state a claim for which relief can be granted under 42 U.S.C.

       § 12131 (the ADA and ADAAA), the Eighth Amendment, the Fourteenth

       Amendment, and under any other statute, constitutional theory, or legal

       theory.

 36.   TDCJ admits that a claim may be stated under 42 U.S.C. § 12131 (the ADA

       and ADAAA) under certain circumstances, but TDCJ denies that those

       circumstances are pleaded and present in this case.

 37.   TDCJ denies that Carrera was deprived of any right, privilege, or immunity

       granted or secured by the Constitution and/or laws of the United States.

 38.   TDCJ denies that Plaintiffs are entitled to the relief demanded in the live

       complaint, and further denies that Plaintiffs are entitled to damages,

       attorneys’ fees, or costs in any amount whatsoever.

 39.   TDCJ denies that Congress abrogated sovereign immunity for purposes of 42

       U.S.C. § 12131 (the ADA and ADAAA).

 40.   TDCJ asserts that it is entitled to sovereign immunity from Plaintiffs’ ADA

       and ADAAA claims.

 41.   TDCJ denies that it failed to provide reasonable accommodations to Carrera

       as alleged by Plaintiffs in their live complaint.

 42.   TDCJ denies that Carrera requested any accommodation, that Carrera knew

       or believed he needed any accommodation, or that TDCJ denied him a




                                            5
Case 2:19-cv-00036-JRG-RSP Document 6 Filed 02/26/19 Page 6 of 8 PageID #: 30



         reasonable accommodation pursuant to 42 U.S.C. § 12131 (the ADA and

         ADAAA).

 43.     The   accommodations        requested       by   Plaintiffs   constitute   fundamental

         alterations to TDCJ’s policies, procedures, services, and/or facilities and do not

         constitute reasonable modifications.

 44.     The accommodations requested by Plaintiffs constitute an undue burden.

 45.     The accommodations requested by Plaintiffs would result in undue financial

         and administrative burdens on TDCJ.

 46.     TDCJ asserts that Carrera was not denied any benefits or services because of

         his alleged disabilities.

 47.     TDCJ asserts that Carrera was not denied any benefits or services solely

         because of his allegedly disabilities.

 48.     TDCJ asserts that Plaintiffs have failed to allege how its alleged actions also

         violated Carrera’s constitutional rights.

 49.     TDCJ asserts the Plaintiffs Jasmine Nol and A.C. lack standing to bring suit.

                                           PRAYER

       TDCJ urges this Court to deny the Plaintiffs any and all relief demanded in their

complaint and to grant such other and further relief as the Court deems just and

proper.




                                                 6
Case 2:19-cv-00036-JRG-RSP Document 6 Filed 02/26/19 Page 7 of 8 PageID #: 31



                                         Respectfully submitted.

                                         KEN PAXTON
                                         Attorney General of Texas

                                         JEFFREY C. MATEER
                                         First Assistant Attorney General

                                         BRANTLEY STARR
                                         Deputy First Assistant Attorney
                                         General

                                         DARREN L. MCCARTY
                                         Deputy Attorney General for Civil
                                         Litigation

                                         SHANNA E. MOLINARE
                                         Assistant Attorney General
                                         Chief, Law Enforcement Defense
                                         Division

                                         /s/ Heather Rhea
                                         HEATHER RHEA
                                         Attorney-in-charge
                                         Assistant Attorney General
                                         Texas Bar No. 24085420

                                         JONATHAN M. PENA
                                         Assistant Attorney General
                                         Texas Bar No. 24110207

                                         OFFICE OF THE ATTORNEY GENERAL
                                         P.O. Box 12548, Capitol Station
                                         Austin, Texas 78711-2548
                                         (512) 463-2080 / (512) 936-2109 (Fax)

                                         ATTORNEYS FOR DEFENDANT TEXAS
                                         DEPARTMENT OF CRIMINAL JUSTICE




                                     7
Case 2:19-cv-00036-JRG-RSP Document 6 Filed 02/26/19 Page 8 of 8 PageID #: 32



                           NOTICE OF ELECTRONIC FILING

    I, Heather Rhea, Assistant Attorney General of Texas, certify that I have

electronically submitted for filing foregoing, on February 26, 2019, in the Eastern

District of Texas, Marshall Division.

                                               /s/ Heather Rhea
                                               HEATHER RHEA
                                               Assistant Attorney General


                              CERTIFICATE OF SERVICE

    I, Heather Rhea, Assistant Attorney General of Texas, do hereby certify that a

true and correct copy of the above and foregoing has been served on all counsel of

record via the electronic case filing system of the United States District Court for the

Eastern District of Texas, on February 26, 2019.

                                               /s/ Heather Rhea
                                               HEATHER RHEA
                                               Assistant Attorney General




                                           8
